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 6
                          UNITED STATES DISTRICT COURT
 7
                                 DISTRICT OF NEVADA
 8
 9
     United States of America,                    Case No. 2:16-cr-00369-APG-GWF
10
                  Plaintiff,                      First Stipulation to Continue
11
                                                  Revocation Hearing
           v.
12
     Cedric Taylor,
13
                  Defendant.
14
15
16         The parties jointly request that this Court vacate the September 23, 2020,
17   hearing on the petition to revoke supervised release and continue it for at least
18
     45 days. The additional time is to allow the parties to determine if a resolution
19
     can be reached. Taylor is not in custody and agrees to the continuance.
20
           DATED: September 18, 2020.
21
22   Rene L. Valladares                        Nicholas A. Trutanich
     Federal Public Defender                   United States Attorney
23
       /s/ Erin Gettel                           /s/ Daniel Clarkson
24
     By_____________________________           By_____________________________
25   Erin Gettel                               Daniel Clarkson
26   Assistant Federal Public Defender         Assistant United States Attorney
        Case 2:16-cr-00369-APG-GWF Document 59 Filed 09/18/20 Page 2 of 2




 1                        UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA
 3
     United States of America,                    Case No. 2:16-cr-00369-APG-GWF
 4
                  Plaintiff,                      Order Granting First Stipulation
 5
                                                  to Continue Revocation Hearing
 6         v.

 7   Cedric Taylor,

 8                Defendant.
 9
10
           Based on the stipulation of counsel, the Court finds that good cause exists
11
     to continue the revocation hearing.
12
           IT IS THEREFORE ORDERED that the revocation hearing currently
13
     scheduled for September 23, 2020, at 4:00 p.m. is vacated and continued to
14
     November 10, 2020 at 3:00 p.m. in courtroom 6C.
15
           DATED: September 18th, 2020.
16
17
18                                         Andrew P. Gordon
                                           United States District Judge
19
20
21
22
23
24
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                                              2
